Case 20-40208-mxm11        Doc 62     Filed 05/08/20 Entered 05/08/20 17:40:38           Desc Main
                                    Document      Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                 §
 IN RE:                                          §       Chapter 11
                                                 §
 TODD MEAGHER                                    §       Case No. 20-40208-mxm11
                                                 §
                Debtor.                          §


                         HEB GROCERY COMPANY, LP’S
              WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 13, 2020

 TO THE HONORABLE MARK X. MULLIN,
 UNITED STATES BANKRUPTCY JUDGE:

                HEB Grocery Company, LP (“HEB”), files this witness and exhibit list (the

 “Witness and Exhibit List”) for the hearing scheduled for May 13, 2020 at 1:30 p.m. (prevailing

 Central Time) in the above-referenced case (or as such hearing may be adjourned, continued, or

 rescheduled, the “Hearing”):


                                          WITNESSES

          HEB may call any of the following witnesses at the Hearing, whether in person or by

 proffer:

       1.       any witnesses called or designated by any other party;

       2.       any witnesses necessary to rebut the evidence or testimony of any witness offered

     or designated by any other party; and

       3.       any witnesses to offer testimony as to the admissibility and/or authenticity of any

     documents offered by any other party.




 US 7067152
Case 20-40208-mxm11             Doc 62     Filed 05/08/20 Entered 05/08/20 17:40:38                               Desc Main
                                         Document      Page 2 of 3



                                                EXHIBITS

              HEB may offer into evidence any one or more of the following exhibits at the Hearing:




                                                                                    OBJECTION
                                                                                                ADMITTED
                                                                          OFFERED
   EXHIBIT




                                    DESCRIPTION                                                                   DISPOSITION




                                                                                                           DATE
             1.   Declaration of Todd Meagher (September 30, 2019),
                  GHER Sols., LLC v. HEB Grocery Co., LP (Case
                  No. 4:19-cv-00655-O, N.D. Tex., Dkt. 10)

             2.   Meagher’s Response to Management Order, HEB
                  Grocery Co., LP v. Todd Meagher et al. (Case No.
                  4:17-cv-02810, S.D. Tex., Dkt. 270)

             3.   Business Records Affidavit of Todd Meagher, HEB
                  Grocery Co., LP v. Todd Meagher et al. (Case No.
                  4:17-cv-02810, S.D. Tex., Dkt. 271)

             4.   SEC Form D for Zurra, Inc., filed Dec. 26, 2019

             5.   Any exhibits designated by the Debtor or any other
                  party

             6.   Any pleadings, motions, orders, or other documents
                  filed in these cases or any related cases

             7.   Any exhibits necessary to rebut the evidence or
                  testimony of any witness offered or designated by
                  any other party


              HEB reserves the right to supplement or amend this Witness and Exhibit List at any time

 prior to the Hearing.




                                                     2
Case 20-40208-mxm11        Doc 62     Filed 05/08/20 Entered 05/08/20 17:40:38          Desc Main
                                    Document      Page 3 of 3



  Dated: May 8, 2020

  /s/ Rebecca L. Petereit _________                  /s/ Tyson D. Smith _______________
  VINSON & ELKINS LLP                                PIRKEY BARBER PLLC
  Jason M. Powers                                    Louis T. Pirkey
  State Bar No. 24007867                             State Bar No. 16033000
  Allison L. Fuller                                  Travis R. Wimberly
  State Bar No. 24087547                             State Bar No. 24075292
  1001 Fannin Street, Suite 2500                     Tyson D. Smith
  Houston, TX 77002                                  State Bar No. 24079362
  Telephone: (713) 758-2522                          1801 East 6th Street, Suite 300
  Facsimile: (713) 615-5809                          Austin, TX 78702
  jpowers@velaw.com                                  Telephone: (512) 322-5200
  afuller@velaw.com                                  Facsimile: (512) 322-5201
                                                     lpirkey@pirkeybarber.com
  Rebecca L. Petereit                                twimberly@pirkeybarber.com
  State Bar No. 24062776                             tsmith@pirkeybarber.com
  Matthew D. Struble
  State Bar No. 24102544
  Trammell Crow Center
  2001 Ross Avenue, Suite 3700
  Dallas, Texas 75201
  Telephone: (214) 220-7700
  Facsimile: (214) 220-7716
  rpetereit@velaw.com
  mstruble@velaw.com

                            Attorneys for HEB Grocery Company, LP


                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 8, 2020, a true and correct copy of the foregoing was served
 via this Court’s Electronic Filing System, which gives notice to all counsel of record.


                                              /s/ Matthew D. Struble
                                             Matthew D. Struble




                                                3
